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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )      8:02CR270
                                             )
                      vs.                    )      ORDER OF COURT
                                             )      TO DISMISS WITHOUT PREJUDICE
DANIEL BANEY,                                )      THE INDICTMENT
NICHOLAS ANDRESEN,                                  )    AGAINST DEFENDANT
                                             )      NICHOLAS ANDRESEN
                                             )
                      Defendant.             )


       IT IS ORDERED, pursuant to Federal Rule of Criminal Procedure 48(a), leave of Court

is granted for the dismissal without prejudice of the Indictment regarding Defendant,

NICHOLAS ANDRESEN, pursuant to Motion of the United States (Filing No. 38).

       DATED this 16th day of August, 2006.

                                             BY THE COURT:




                                             s/Joseph F. Bataillon
                                             JOSEPH F. BATAILLON
                                             United States District Judge
